Case 2:20-cv-08258-FMO-MRW Document 1 Filed 09/09/20 Page 1 of 3 Page ID #:1




  1 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
        A Limited Liability Partnership
  2     Including Professional Corporations
    GREGORY F. HURLEY, Cal. Bar No. 126791
  3 ghurley@sheppardmullin.com
    MICHAEL J. CHILLEEN, Cal. Bar No. 210704
  4 mchilleen@sheppardmullin.com
    650 Town Center Drive, 10th Floor
  5 Costa Mesa, California 92626-1993
    Telephone: 714.513.5100
  6 Facsimile: 714.513.5130
  7 Attorneys for Defendant,
    HASTINGS VILLAGE
  8 INVESTMENT COMPANY, L.P.
  9                                  UNITED STATES DISTRICT COURT
 10                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 11
 12 LLOYD MOSLEY,                                   Case No.
 13                     Plaintiff,                  NOTICE OF REMOVAL OF
                                                    ACTION TO FEDERAL COURT
 14            v.
 15 HASTINGS VILLAGE INVESTMENT                     Los Angeles County Superior Court
    COMPANY, L.P. AND DOES 1-20,                    Case No.: 20GDCV00633
 16
             Defendants.
 17                                                 Action Filed:     August 26, 20202
                                                    Trial Date:       None Set
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

      SMRH:4811-2673-6571.1                     NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT
Case 2:20-cv-08258-FMO-MRW Document 1 Filed 09/09/20 Page 2 of 3 Page ID #:2




  1            TO THE CLERK OF THE UNITED STATES DISTRICT COURT,
  2 CENTRAL DISTRICT OF CALIFORNIA:
  3            PLEASE TAKE NOTICE that defendant Hastings Village Investment
  4 Company, L.P. (Defendant”) hereby removes to this Court the state court action
  5 described below:
  6            I.       FILING AND SERVICE OF THE COMPLAINT.
  7            1.       On or about August 3, 2020, plaintiff Lloyd Mosley (“Plaintiff”)
  8 commenced an action in the Superior Court of the State of California for the County
  9 of Los Angeles, Case Number 20GDCV00633, by filing a Complaint entitled
 10 “Lloyd Mosely v. Hastings Village Investment Company, L.P., and Does 1-20”
 11            2.       On August 26, 2020, Plaintiff served the Complaint on Defendant. True
 12 and correct copies of the Summons and Complaint and all other documents are
 13 attached hereto as Exhibit “A”. Defendant has not yet responded to the Complaint.
 14 To Defendant’s knowledge, no other defendant has been served or named. See
 15 Salveson vs. Western States Bankcard Ass’n, 731 F.2d 1423, 1429 (9th Cir. 1984)
 16 (defendant need not join in or consent to the notice of removal if the nonjoining
 17 defendant has not been served with process in the state action at the time the notice
 18 of removal is filed.).
 19            II.      THIS COURT HAS FEDERAL QUESTION JURISDICTION.
 20            3.       This action is a civil action for which this Court has original
 21 jurisdiction pursuant to 28 U.S.C. § 1331 and is one which may be removed
 22 pursuant to 28 U.S.C. § 1441(a) and 28 U.S.C. § 1443, in that it appears from the
 23 Complaint that Plaintiff has filed a civil rights action, and his claims are founded on
 24 a claim or right arising under the laws of the United States.
 25            4.       More specifically, it appears from the Complaint that this is a civil
 26 rights action alleging violations of the Americans with Disabilities Act, 42 U.S.C. §
 27 12182 et seq. (Complaint ¶¶ 16, 17, 19 and 20).
 28

                                                     -1-
      SMRH:4811-2673-6571.1                       NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT
Case 2:20-cv-08258-FMO-MRW Document 1 Filed 09/09/20 Page 3 of 3 Page ID #:3




  1            III.     THIS NOTICE OF REMOVAL IS TIMELY AND PROPERLY
  2 FILED.
  3            5.       The filing of this Notice of Removal is filed within the time period
  4 required under 28 U.S.C. § 1446(a).
  5            6.       Defendant will give written notice of the filing of this Notice of
  6 Removal to all adverse parties as required by 28 U.S.C. § 1446(d) and will file a
  7 copy of this Notice of Removal within the law division of the Superior Court of
  8 California, County of Los Angeles, as further required by that Section.
  9            7.       Venue is proper in this Court because the action is being removed from
 10 the Superior Court in the County of Los Angeles.
 11            8.       The undersigned counsel for Defendant has read the foregoing and
 12 signs the Notice of Removal pursuant to Rule 11 of the Federal Rules of Civil
 13 Procedure, as required by 28 U.S.C. § 1446(a).
 14            WHEREFORE, Defendant prays that the above action now pending against it
 15 in the Superior Court of the County of Los Angeles be removed to this Court.
 16
      Dated: September 9, 2020
 17
                                          SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
 18
 19
 20                                       By                    /s/ Gregory F. Hurly
 21                                                           GREGORY F. HURLEY
                                                              MICHAEL J. CHILLEEN
 22                                                           Attorneys for Defendant,
 23                                                            HASTINGS VILLAGE
                                                           INVESTMENT COMPANY, L.P.
 24
 25
 26
 27
 28

                                                     -2-
      SMRH:4811-2673-6571.1                       NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT
